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                         Exhibit 1


      The email notice to defendant of ECF 15
amended complaint filing
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 I, Xiaohua Huang, declare as follows:
    The following material is same as original email sent out from the Court ECF
system.
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   I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct. Executed in Campbell, California, on

November 29,2023.


                                               Xiaohua Huang
